

Matter of Karasov (2023 NY Slip Op 06189)





Matter of Karasov


2023 NY Slip Op 06189


Decided on November 30, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 30, 2023

PM-264-23
[*1]In the Matter of Nadav Joseph Karasov, an Attorney. (Attorney Registration No. 5759956.)

Calendar Date:November 20, 2023

Before:Garry, P.J., Clark, Reynolds Fitzgerald, McShan and Mackey, JJ.

Nadav Joseph Karasov, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Nadav Joseph Karasov was admitted to practice by this Court in 2019 and lists a business address in Washington, DC with the Office of Court Administration. Karasov now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Karasov's application.
Upon reading Karasov's affidavit sworn to September 21, 2023 and filed October 2, 2023 and upon reading the November 14, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Karasov is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, McShan and Mackey, JJ., concur.
ORDERED that Nadav Joseph Karasov's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Nadav Joseph Karasov's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Nadav Joseph Karasov is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Karasov is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Nadav Joseph Karasov shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








